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     S.C., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children A.E., G.E., C.C., and S.M. No. 24SC641Supreme Court of Colorado, En BancNovember 4, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA401
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    